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 Attorney or Professional Name, Address, Telephone and FAX

Timothy Skillman
CR3 Partners, LLP
6171 West Century Boulevard, Suite 350
Los Angeles, CA 90045
T: 800-728-7276
 Restructuring and Financial Advisors for Michael McConnell, Chapter 11

                        UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA


[n re:                                                                                                       Chapter 1 I Case Number

                                                                                                             9:19-bk-11573-MB

                                                                                                             Professional Fee Statement
      HVI CAT CANYON, INC.,
                                                                                                             Number: ~
                                                                                                             Month of:           10/21-11/30,20~ 9

                                                                                                    Debtor




1. Name of Professional•                                                                            CR3 P8tt112fS, LLP

2. Date of entry of order approving employment of the professional:                                 P@IICllllg, See   Attachment at Paragraph No. 2

3. Total amount ofpre-petition payments received by the professional:                               $~.~~

4. Less: Total amount ofpre-petition services rendered and expenses:                                -~.~~

s. aaian~e of a~„ds ~e~„a~~,~ng on aate oft~~~„g ot~Per~c~on:                                       $See Attachment at Paragraphs Nos. 3 and 4

6. Less: Total amount of ail services rendered per prior fee statements: (Line 6 is not used when
filing Statement Number I ).

7. Less: Total amount of services and expenses this reporting period:                               _   S@e Att8Ch171211t at Paf8gf8ph NOS. 5

8. Balance of funds remaining for next reparting period:                                            $   See Attachment at Paragraphs Nos. 3 and 4


DETAILED DOCUMENTATION SUPPORTING THE PROFESSIONAL FEES EARNED AND THE EXPENSES INCURRED
DURING THIS REPORTING PERIOD HAS BEEN SERVED ON THE UNITED STATES TRUSTEE. A COPY OF THE
DETAILED DOCUMENTATION WILL BE PROVIDED BY THE PROFESSIONAL TO ANY PARTY UPON REQUEST. FEES
AND COSTS W[LL BE WITHDRAWN FROM THE TRUST ACCOUNT[N THE AMOUNT STATED IN ITEM 7 ABOVE
UNLESS AN OBJECTION IS FILED WITH TIE CLERK OF THE COURT AND SERVED ON THE PROFESSIONAL NAMED
ABOVE WITHIN 10 DAYS FROM THE DATE OF SERVICE OF THIS STATEMENT.


9. Total number of pages attached hereto:


The above is a true and correct statement offees earned and expenses incurred during the indicated reporting period.

Dated: December 6,, 2019
                                                                                            %tlrtd~`.~~~.L. ~i~~.~~
          Timothy Skillman
Type Name of Professional                                                                     Signature~f Professional



Type Name of Attorney for Professional (if applicable)                                        Signature of Attorney for Professional (if applicable)


Revised September 2012                           PROFESSIONAL FEE STATEMENT (Page 1 of 2)                                                       USTR16-6.0
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                   ATTACHMENT TO PROFESSIONAL FEE STATEMENT NO. 1
                                   CR3 Partners, LLP

 1.     Michael A. McConnell was appointed as Chapter 11 Trustee for HVI Cat Canyon, Inc.
(the "debtor") on or about October 21,2019.

2.     On or about November 14, 2019, the Trustee filed the Notice OfApplication And
Application To 1)Employ CR3 Partners, LLP As Restructuring/Financial Advisor And 2)
Approve Engagement Agreement(the "Application" docket no. 510). On or about December 4,
2019,the Trustee lodged an order on its Application. This Professional Fee Statement is
contingent upon the Court's approval ofthe employment of CR3 Partners, LLP("CR3")and the
amounts will only be paid in accordance with the Office ofthe United States Trustee Guidelines,
and only if the Court approves CR3's employment and the Fee Procedures Motion discussed in
paragraph 3 below.

3.     Pursuant to the budget filed on or about November 7, 2019(the "Budget," docket no.
474), which the Court approved by order entered on or about November 27,2019(docket no.
572), UBS,LLC("UBS")loaned money to the Trustee for operations including acarve-out
weekly reserve for the Trustee and his professionals, and for professionals retained by the
Official Committee of Unsecured Creditors (the "Committee"). These funds are being deposited
weekly into segregated accounts for the Trustee's professionals and for the Committee's
professionals.

4.      On or about November 14, 2019, the Trustee filed a Motion OfChapter 11 Trustee For
Order (1)Establishing Procedures For The Payment OfInterim Compensation And
Reimbursement OfExpenses(11 U.S.C. ~~ 105(a) and 331), And Authorizing Payment On A
Monthly Basis(11 U.S.C. ~ 328)(the "Fee Procedures Motion," docket no. 511), which proposes
to make monthly payments in this case to the extent offunds carved-out by the lender and
designated for that purpose, or free and clear funds, if any. On or about December 4,2019, the
Trustee lodged an order on the Fee Procedures Motion. Assuming that it is approved by the
Court, subject to resolution of any timely objection to the Professional Fee Statement, the
Trustee may pay the professional the lesser of(a)80% ofthe fees and expenses requested in the
monthly statement, and(b)the aggregate amount offees and expenses requested in the monthly
statement as to which no timely objection was made.

 5.      iR ec uest for Payment of Professional Fees: During the period from October 21, 2019
 through November 30,2019(the "Subject Period"), CR3 has incurred fees and costs of$375,177
 and $14,424, respectively for a total of$389,601. $311,681 at present is being held under the
 carve-out in the segregated account for CR3 to secure its fees and costs. Thus, in accordance
 with the Budget and the Fee Procedures Motion, CR3 is requesting that it be paid its fees and
 costs for the Subject Period of $311,681.

 6.    Professional Statement No. 1: This is the first Professional Statement by CR3. No
 compensation or reimbursement of expenses have been paid to CR3 to date.




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                           PROOF OF SERVICE OF DOCUMENT
  am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is 1901 Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): PROFESSIONAL FEE STATEMENT NO.
ONE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On December 6, 2019 , I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:



                                                              ❑D Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On December 6, 2019 , I served the following persons and/or entities
at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.

Debtor                                                   Debtor
HVI Cat Canyon, Inc.                                     HVI Cat CANYON, INC.
c/o Capitol Corporate Services, Inc.                     630 Fifth Avenue, Suite 2410
36 S. 18th Avenue, Suite D                               New York, NY 10111
Brighton, CO 80601

                                                              ❑
                                                              D Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on December 6,
2019 , I served the following persons and/or entities by personal delivery, overnight mail service, or (for those
who consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the
judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
no later than 24 hours after the document is filed.

Served by Personal Delivery to be delivered by December 9, 2019
The Honorable Martin R. Bash
U.S. Bankruptcy Court
21041 Burbank Boulevard, Bin on 1S' Floor outside entry to Intake Section
Woodland Hills, CA 91367
                                                              D Service in rma on cont Hued on attached page.

 declare under penalty of perjury under the laws of the United States th t the oregoing is true and correct.



   December 6, 2019                 Vivian Servin
   Date                             Printed Name                            Signature




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                      ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")


   •    William C Beall     will@beallandburkhardt.com, carissa@beallandburkhardt.com

   • Alicia Clough        aclough@loeb.com, mnielson@loeb.com,ladocket@loeb.com

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   • Jeannie Kim      jkim@friedmanspring.com

   • Maxim B Litvak          mlitvak@pszjlaw.com

   • Michael Authur McConnell(TR). Michael.mcconnell@kellyhart.com

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   • David L Osias dosias@allenmatkins.com,
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     m




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   • Mitchell E Rishe      mitchell.rishe@doj.ca.gov

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    • Aaron E de Leest adeleest@DanningGill.com,
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2. SERVED BY UNITED STATES MAIL:

Office of the U.S. Trustee
1415 State Street, Suite 148
Santa Barbara, CA 93101


REQUESTS FOR SPECIAL NOTICE


 Attorneys for Bu~anko
 Philip W. Ganong
 Ganong Law
 930 Trustun Avenue, Suite 102
 Bakersfield, CA 93301



3. SERVED VIA EMAIL:
Michael A. McConnell, Trustee — Michael.McConnell@kellyhart.com
Max Litvak, Esq. — mlitvak@pszjlaw.com
Evan Jones, Esq. — ejones@omm.com
Eric Vanhorn — ericvanhorn@spencerfane.com




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